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UNITED STATES DISTRICT COURT aS 3
SOUTHERN DISTRICT OF FLORIDA “ wy Gee

CASE NO. 99-6668-CIV-GOLD/SIMONTON

UNITED STATES OF AMERICA,
ex rel. RANDY S. SCHWARTZ,

Plaintiff,
V.

TENET HEALTHCARE CORPORATION,
TENET HOME CARE OF DELRAY
MEDICAL CENTER, and

TENET SOUTH FLORIDA
HEALTHSYSTEM,

Defendants.

QUI TAM PLAINTIFF’S REQUEST FOR VOLUNTARY
DISMISSAL OF ACTION WITH PREJUDICE PURSUANT TO
FEDERAL RULE OF CIVIL PROCEDURE 41(a)(2), 31 U.S.C. § 3730(B\(1)

Qui tam plaintiff Randy S. Schwartz, pursuant to Rule 41(a)(2) of the Federal Rules of
Civil Procedure and 31 U.S.C. § 3130(b)(1), with the consent of the United States of America,
and before service of the complaint upon the defendants and any response thereto, requests
dismissal of this action with prejudice.

A proposed order has been submitted concurrently with this request.
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Respectfully submitted,

Dated: September , 2001 LAW OFFICES OF ROBERT ANTHONY BOGDAN

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ROBERT ANTHONY BOGDAN ¢/
Attorney for Qui Tam Plaintiff Randy S. Schwartz

The United States consents to the Request

Dated: September 6 , 2001 STUART E SCHIFFER
DEPUTY ASSISTANT ATTORNEY GENERAL

GUY A. LEWIS
UNITED STATES ATTORNEY

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” Tsa’ HU BARQUIST

Assistant U.S. Attorney

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Attorneys for the United States of America

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a copy of the foregoing was mailed via U.S. Mail to
(1) Robert Anthony Bogdan, Esq., 410 S.E. 1" Terrace, Pompano Beach, FL 33060-7108 and

(2) Myla Reizen, Esq., Tenet Healthcare Corporation, 3820 State Street, Santa Barbara, CA

Fu th Engast

Lisa Hu Barquist
Assistant United States andney

93105, on this b Pre day of September 2001.

